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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                         )
                                                   )
                              Plaintiff,           )
                                                   )
                         v.                        )     No. 1:18-cr-00356-TWP-MPB
                                                   )
 KEVIN DOSS                                        )
   a/k/a DEVONTE BROWN,                            ) -01
                                                   )
                              Defendant.           )

                   ORDER ADOPTING REPORT AND RECOMMENDATION

        On December 9, 2020, the Magistrate Judge submitted his Report and Recommendation

 regarding the United States Probation Office's Petition for Warrant or Summons for Offender

 Under Supervision (Dkt. 53). The parties were afforded due opportunity pursuant to statute and

 the rules of this Court to file objections; none were filed. The Court, having considered the

 Magistrate Judge's Report and Recommendation, hereby adopts the Magistrate Judge's Report and

 Recommendation.

        IT IS SO ORDERED.

        Date:    12/30/2020


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